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8
                     UNITED STATES DISTRICT COURT
9
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
10
     JOHN VON HEGEL, JR.,             )            Case No.
11
                                      )
12   Plaintiff,                       )            COMPLAINT FOR VIOLATION
13                                    )            OF THE PENNSYLVANIA FAIR
            vs.                       )            CREDIT EXTENSION
14
                                      )            UNIFORMITY ACT,
15   CAPITAL MANAGEMENT               )            PENNSYLVANIA UNFAIR TRADE
     SERVICES, L.P.,                  )            PRACTICES AND CONSUMER
16
                                      )            PROTECTION LAW, AND
17   Defendant.                       )            FEDERAL FAIR DEBT
18
     ________________________________ )            COLLECTION PRACTICES ACT
19

20                                 I. INTRODUCTION
21         1. This is an action for damages brought by an individual consumer for
22
     Defendant’s violations of the Pennsylvania Fair Credit Extension Uniformity Act
23

24
     and Pennsylvania Unfair Trade Practices and Consumer Protection Law.

25   Furthermore, Defendant’s violations of the Fair Debt Collection Practices Act, 15
26
     U.S.C. §1692, et seq. (hereinafter “FDCPA”), which prohibit debt collectors from
27

28   engaging in abusive, deceptive, and unfair practices.



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1
                                     II. JURISDICTION
2
           2.      Jurisdiction of this Court arises under 15 U.S.C. §1692k (d).
3

4                                      III. PARTIES
5
           3.        Plaintiff, John Von Hegel, Jr. (“Plaintiff”), is a natural person
6

7    residing in Pike county in the state of Pennsylvania, and is a “consumer” as
8
     defined by the FDCPA, 15 U.S.C. §1692a(3).
9
           4.        At all relevant times herein, Defendant, Capital Management
10

11   Services, L.P., (“Defendant”) was a company engaged, by use of the mails and
12
     telephone, in the business of collecting a debt from Plaintiff which qualifies as a
13

14   “debt,” as defined by 15 U.S.C. §1692a(5). Defendant regularly attempts to
15
     collect debts alleged to be due another, and therefore is a “debt collector” as
16

17
     defined by the FDCPA, 15 U.S.C. §1692a(6).

18                             IV. FACTUAL ALLEGATIONS
19
           5.        At various and multiple times prior to the filing of the instant
20

21   complaint, including within the one year preceding the filing of this complaint,
22
     Defendant contacted Plaintiff in an attempt to collect an alleged outstanding debt.
23

24         6.        On average, Plaintiff received from Defendant, more than two
25
     collections calls per day, more than ten collections calls per week, and more than
26
     twenty collections calls per month in connection with an attempt to collect an
27

28   alleged debt.



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1          7.      Defendant contacted Plaintiff at times and places that were known to
2
     be inconvenient and with such a frequency as to constitute harassment under the
3

4    circumstances.
5
           8.      Plaintiff entered into a payment plan with Defendant, whereby
6

7    Plaintiff will repay the alleged debt at approximately $57.00 per month.
8
           9.      Defendant falsely represented that Plaintiff never agreed to a
9
     payment plan, and requested that Plaintiff pay more on the alleged debt monthly
10

11   despite having continued to debit Plaintiff’s bank account pursuant to the
12
     approximately $57.00 per month agreement.
13

14         10.     Defendant continued to harass Plaintiff with excessive calls despite
15
     debiting Plaintiff’s account monthly, pursuant the agreed upon payment plan.
16

17
            COUNT I:VIOLATION OF THE PENNSYLVANIA FAIR CREDIT
                        EXTENSION UNIFORMITY ACT
18

19         11.     Plaintiff hereby incorporates all facts and allegations set forth in this
20
     Complaint by reference as if fully set forth at length herein.
21

22
           12.     The    Pennsylvania     Fair     Credit   Extension   Uniformity     Act

23   (“PaFCEUA”) 73 P.S. § 2270.1 et seq. prohibits harassing and deceptive conduct
24
     by creditors while engaging in the practice of collecting a debt from consumers.
25

26         13.     Section 2270.5 of the PaFCEUA allows consumers to recover
27
     damages against creditors who engage in unfair and deceptive debt collection
28




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1    practices under the Pennsylvania Unfair Trade Practices and Consumer Protection
2
     Law (“PUTCPL”).
3

4          14.         Plaintiff is a “consumer” as defined by § 2270.3 of the PaFCEUA.
5
           15.         Defendant is a “creditor” as defined by § 2270.3 of the PaFCEUA.
6

7          16.         Defendant’s conduct violated the PaFCEUA in multiple ways,
8
     including but not limited to:
9
           a) Causing Plaintiff’s telephone to ring repeatedly or
10
              continuously with intent to harass, annoy or abuse Plaintiff;
11

12
           b) Communicating with Plaintiff at times or places which
13            were known or should have been known to be inconvenient
14
              for Plaintiff;
15

16
           c) Repeatedly contacting Plaintiff at his/her place of
              employment after being informed that such calls are
17            inconvenient to Plaintiff and violate the policy of
18            Plaintiff’s employer;
19

20         d) Falsely representing the character, amount, or legal status
              of Plaintiff’s debt;
21

22
           e) Using false, deceptive, or misleading representations or
23
              means in connection with collection of a debt;
24
                 17.         As a result of the above violations of the PaFCEUA Plaintiff
25

26   suffered and continues to suffer injury to Plaintiff’s feelings, personal humiliation,
27
     embarrassment, mental anguish and emotional distress, and Defendant is liable to
28




                                             Complaint - 4
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1    Plaintiff for Plaintiff’s actual damages, statutory damages, and costs and
2
     attorney’s fees.
3

4      COUNT II: VIOLATION OF THE PENNSYLVANIA UNFAIR TRADE
5
            PRACTICES AND CONSUMER PROTECTION LAW

6
           18.    Plaintiff hereby incorporates all facts and allegations set forth in this
7

8    Complaint by reference as if fully set forth at length herein.
9
           19.    Defendant’s conduct as set forth above constitutes an unfair or
10
     deceptive practice within the meaning of the Pennsylvania Unfair Trade Practices
11

12   and Consumer Protection Law, 73 P.S. §201-1, et seq.
13
           20.    Defendant’s violation of the Pennsylvania Unfair Trade Practices
14

15   and Consumer Protection law has caused Plaintiff to suffer the damage set forth
16
     hereinabove.
17

18
           21.    Plaintiff is entitled to triple damages and attorneys’ fees as a result of

19   Defendant’s conduct, pursuant to 73 P.S. §201-9.2.
20
                        COUNT III: VIOLATION OF FAIR DEBT
21
                          COLLECTION PRACTICES ACT
22

23
           22.    Plaintiff reincorporates by reference all of the preceding paragraphs.
24

25         23.    Defendant’s conduct violated the FDCPA in multiple ways,
26
     including but not limited to:
27

28




                                           Complaint - 5
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1                a) Causing Plaintiffs telephone to ring repeatedly or
2                   continuously with intent to harass, annoy or abuse
                    Plaintiff (§1692d(5));
3

4
                 b) Communicating with Plaintiff at times or places which
5
                    were known or should have been known to be
6                   inconvenient for Plaintiff (§1692c(a)(1));
7

8                c) Falsely representing the character, amount, or legal
                    status of Plaintiff’s debt (§1692e(2)(A));
9

10
                 d) Using false representations and deceptive practices in
11
                    connection with collection of an alleged debt from
12                  Plaintiff (§1692e(10); and
13
                 e) Engaging in conduct the natural consequence of which
14                  is to harass, oppress, or abuse Plaintiff (§1692d)).
15

16
           24.      As a result of the above violations of the FDCPA Plaintiff suffered
17

18
     and continues to suffer injury to Plaintiff’s feelings, personal humiliation,

19   embarrassment, mental anguish and emotional distress, and Defendant is liable to
20
     Plaintiff for Plaintiff’s actual damages, statutory damages, and costs and
21

22   attorney’s fees.
23
                                  PRAYER FOR RELIEF
24

25
           WHEREFORE, Plaintiff respectfully prays that judgment be entered
26
     against the Defendant for the following:
27
                    A.    Declaratory judgment that Defendant’s conduct
28




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1
        violated the FDCPA;
2
        B.    Actual damages;
3
        C.    Statutory damages;
4
        D.    Costs and reasonable attorney’s fees; and,
5       E.    For such other and further relief as may be just and proper.
6

7

8     PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY
9
        Respectfully submitted this 17th day of October, 2011.
10

11                         By:     /s Cynthia Levin
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28




                                 Complaint - 7
